                            Livingscapes Exhibit D
   Date         Type        Payee       Category           Memo           Total



                                                     System-recorded
                                                     fee for QuickBooks
                                                     Payments. Fee-
                                       Bank          name:
                       QuickBooks      Charges &     DiscountRateFee,
01/31/2021   Expense   Payments        Fees          fee-type: Daily.         3.25




                                                     6930 CHARLOTTE
                                                     PIKE WAFFLE
                                                     HOUS 6930
                                                     CHARLOTTE PIKE
                                       Entertainme WAFFLE HOUSE
                                       nt - Officers 03 NASHVILLE TN
01/29/2021   Expense   Waffle House    Only          12821 Card#2282         52.25
                                       Bank
                                       Charges &
01/29/2021   Expense                   Fees          Service Charge          15.50
                                                     OLB Transfer from
                                       Pinnacle      *236 to *655 OLB
                                       Payroll       Transfer from *236
01/29/2021   Expense   Payroll         *2655         to *655 Transfer     7,000.00




                                                     628 OLD HICKORY
                                                     BLV IN *STONETR
                                                     628 OLD HICKORY
                                                     BLV IN
                                                     *STONETREE M
                       STONETREE       Materials &   615-6462208 TN
01/29/2021   Expense   MULCH           Supplies      12821 Card#2282        441.00
                                                     440 Terry Ave N
                                                     Prime Video*RS1
                                                     440 Terry Ave N
                                                     Prime Video*RS1
                                       Materials &   888-802-3080 WA
01/29/2021   Expense   Amazon          Supplies      12821 Card#2282          3.27
                                                     3500 N MOUNT
                                                     JULIET WEST
                                                     WILSON 3500 N
                                                     MOUNT JULIET
                                                     WEST WILSON
                                                     FAM MOUNT
                                       Materials &   JULIET TN 12621
01/28/2021   Expense   Wilson          Supplies      Card#2282              123.63
                                                     WALGREENS 5301
                                                     HARDING
                                                     NASHVILL
                                                     WALGREENS 5301
                                                     HARDING
                                                     NASHVILLE TN
                                                     12721
                                       Materials &   012717404965
01/28/2021   Expense   Walgreens       Supplies      Card#2282               88.07




     Case 3:20-bk-03561             Doc 31-3 Filed 02/15/21 Entered 02/15/21 12:08:47   Desc
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                                                     DUCK WELD 311
                                                     WILHAGAN
                                                     NASHVILL DUCK
                                                     WELD 311
                                                     WILHAGAN
                                                     NASHVILLE TN
                                                     12721
                       Duck Welding      Repairs &   012716102404
01/27/2021   Expense   Sales & Service   Maintenance Card#2282            49.16




                                                     6214 CHARLOTTE
                                                     PIKE DISCOUNT-TI
                                                     6214 CHARLOTTE
                                                     PIKE DISCOUNT-
                                                     TIRE-T NASHVILLE
                                         Repairs &   TN 12621
01/27/2021   Expense   Discount Tire     Maintenance Card#2282            90.90



                                                     AUTOZONE 1007
                                                     MURFREE
                                                     NASHVILLE
                                                     AUTOZONE 1007
                                                     MURFREE
                                                     NASHVILLE TN
                                                     12721
                                         Repairs &   012712518280
01/27/2021   Expense   AUTOZONE          Maintenance Card#2282            10.91
                                         Wages
                                         (Hourly) -
01/26/2021   Check     Payroll           Regular Pay Check 20146 Check   687.49
                                         Wages
                                         (Hourly) -
01/26/2021   Check     Payroll           Regular Pay Check 20145 Check   708.11
                                         Wages
                                         (Hourly) -
01/26/2021   Check     Payroll           Regular Pay Check 20144 Check   651.64




                                                     899 Heathrow Park
                                                     Ln VZWRLSS*MY
                                                     899 Heathrow Park
                                                     Ln VZWRLSS*MY
                                                     VZ V 800-922-0204
                                         Telephone & FL 12621
01/26/2021   Expense   Verizon           Internet    Card#2282           255.19
                                                     3901
                                                     CLARKSVILLE PIK
                                                     TEXACO XPR 3901
                                                     CLARKSVILLE PIK
                                                     TEXACO XPRESS
                                         Repairs &   L NASHVILLE TN
01/26/2021   Expense   Texaco            Maintenance 12521 Card#2282      37.15




     Case 3:20-bk-03561            Doc 31-3 Filed 02/15/21 Entered 02/15/21 12:08:47   Desc
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                                                   3901
                                                   CLARKSVILLE PIK
                                                   TEXACO XPR 3901
                                                   CLARKSVILLE PIK
                                                   TEXACO XPRESS
                                       Repairs &   L NASHVILLE TN
01/26/2021   Expense   Texaco          Maintenance 12521 Card#2282      53.53



                                                   PENN NATIONAL
                                                   IN RECUR PMTS
                                                   310 PENN
                                                   NATIONAL IN
                                                   RECUR PMTS
                                                   3100193796
                                       General     C230961349
                       Penn National   Liability   LIVINGSCAPES
01/26/2021   Expense   Insurance       Insurance   INC                1,549.97




                                                   6000 CHARLOTTE
                                                   PIKE NAPA STORE
                                                   6000 CHARLOTTE
                                                   PIKE NAPA STORE
                                                   5120 NASHVILLE
                                       Repairs &   TN 12521
01/26/2021   Expense   NAPA            Maintenance Card#2282             5.45




                                                   6401 CHARLOTTE
                                                   PIKE RICHLAND
                                                   HA 6401
                                                   CHARLOTTE PIKE
                                                   RICHLAND
                                                   HARDWA
                       RICHLAND        Materials & NASHVILLE TN
01/26/2021   Expense   HARDWARE        Supplies    12521 Card#2282      12.02
                                                   5714 CHARLOTTE
                                                   PIKE O'REILLY AU
                                                   5714 CHARLOTTE
                                                   PIKE O'REILLY
                                                   AUTO P
                                       Repairs &   NASHVILLE TN
01/26/2021   Expense   Oreilly         Maintenance 12521 Card#2282      30.57
                                                   5714 CHARLOTTE
                                                   PIKE O'REILLY AU
                                                   5714 CHARLOTTE
                                                   PIKE O'REILLY
                                                   AUTO P
                                       Repairs &   NASHVILLE TN
01/26/2021   Expense   Oreilly         Maintenance 12521 Card#2282     197.56




     Case 3:20-bk-03561           Doc 31-3 Filed 02/15/21 Entered 02/15/21 12:08:47   Desc
                                         Exhibit D Page 3 of 17
                                                      System-recorded
                                                      fee for QuickBooks
                                                      Payments. Fee-
                                        Bank          name:
                       QuickBooks       Charges &     DiscountRateFee,
01/26/2021   Expense   Payments         Fees          fee-type: Daily.       10.00
                                        Wages
                                        (Hourly) -
01/25/2021   Check     Payroll          Regular Pay Check 20143 Check       820.58
                                        Wages
                                        (Hourly) -
01/25/2021   Check     Payroll          Regular Pay Check 20142 Check       747.98

                       HUNTER TREES Materials &       Check 951 Check -
01/25/2021   Check     LLC          Supplies          Supplies             1,300.00
                                                      VENMO PAYMENT
                                                      3264681992 S
                                                      JAME VENMO
                                                      PAYMENT
                                                      3264681992 S
                       Fabrication      Materials &   JAMES
01/25/2021   Expense   Services         Supplies      LIVINGSTON            215.00
                                                      7700 EASTPORT
                                                      PARKW BRITISH
                                                      PAR 7700
                                                      EASTPORT
                                                      PARKW BRITISH
                                                      PARTS N
                                        Materials &   5038642001 OR
01/25/2021   Expense   Brit Parts       Supplies      12921 Card#2282       326.56




                                                      6401 CENTENNIAL
                                                      BLV LIVING EART
                                                      6401 CENTENNIAL
                                                      BLV LIVING
                                        Materials &   EARTH CE
01/25/2021   Expense   LIVING EARTH     Supplies      NASHVILLE TN            8.00




                                                      6401 CENTENNIAL
                                                      BLV LIVING EART
                                                      6401 CENTENNIAL
                                                      BLV LIVING
                                        Materials &   EARTH CE
01/25/2021   Expense   LIVING EARTH     Supplies      NASHVILLE TN           15.36




                                                      6401 CENTENNIAL
                                                      BLV LIVING EART
                                                      6401 CENTENNIAL
                                                      BLV LIVING
                                        Materials &   EARTH CE
01/25/2021   Expense   LIVING EARTH     Supplies      NASHVILLE TN           16.32




     Case 3:20-bk-03561              Doc 31-3 Filed 02/15/21 Entered 02/15/21 12:08:47   Desc
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                                                   3716 DICKERSON
                                                   PIKE ALL
                                                   BROTHER 3716
                                                   DICKERSON PIKE
                                                   ALL BROTHERS
                       All Brothers    Repairs &   TR NASHVILLE TN
01/25/2021   Expense   Truck Repair    Maintenance 12221 Card#2282         913.84



                                                     System-recorded
                                                     fee for QuickBooks
                                                     Payments. Fee-
                                       Bank          name:
                       QuickBooks      Charges &     DiscountRateFee,
01/24/2021   Expense   Payments        Fees          fee-type: Daily.        1.30
                                       Wages
                                       (Hourly) -
01/22/2021   Check     Payroll         Regular Pay Check 20141 Check       688.17
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                                   190AWWV
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                       Wages       190AWWV
                                       (Hourly) -  1582663830
01/22/2021   Expense   Payroll         Regular Pay LIVINGSCAPES             82.50
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                                   190AWWV
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                       Wages       190AWWV
                                       (Hourly) -  1582663830
01/22/2021   Expense   Payroll         Regular Pay LIVINGSCAPES           2,174.29
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                                   190AWWV
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                       Wages       190AWWV
                                       (Hourly) -  1582663830
01/22/2021   Expense   Payroll         Regular Pay LIVINGSCAPES           3,264.67
                                                   SHELL SERVICE S
                                                   NASHVILLE TN 12
                                                   SHELL SERVICE S
                                                   NASHVILLE TN
                                                   12121
                       S                           102178566006
01/22/2021   Expense   NASHVILLERY     Fuel        Card#2282                22.18



                                                     SAMARA FARMS
                                                     LLC SALE
                                                     921598620
                                                     SAMARA FARMS
                                                     LLC SALE
                                                     9215986202 S
                       SAMARA          Materials &   JAMES
01/22/2021   Expense   FARMS           Supplies      LIVINGSTON           2,628.00




     Case 3:20-bk-03561             Doc 31-3 Filed 02/15/21 Entered 02/15/21 12:08:47   Desc
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                                                      MAPCO 3219
                                                      NASHVILLE TN
                                                      12221 0 MAPCO
                                                      3219 NASHVILLE
                                                      TN 12221 005607
01/22/2021   Expense   MAPCO            Fuel          Card#2282               24.30




                                                    80 ROTECH DR
                                                    CLASSIC & PERFO
                                                    71 80 ROTECH DR
                       Classic &                    CLASSIC & PERFO
                       Performance      Repairs &   716-759-1800 NY
01/22/2021   Expense   Parts            Maintenance 11921 Card#2282           28.79



                                                      System-recorded
                                                      fee for QuickBooks
                                                      Payments. Fee-
                                        Bank          name:
                       QuickBooks       Charges &     DiscountRateFee,
01/22/2021   Expense   Payments         Fees          fee-type: Daily.          0.90
                                                      OLB Transfer from
                                        Pinnacle      *236 to *655 OLB
                                        Payroll       Transfer from *236
01/21/2021   Expense   Payroll          *2655         to *655 Transfer     10,600.00




                                                    80 ROTECH DR
                                                    CLASSIC & PERFO
                                                    71 80 ROTECH DR
                       Classic &                    CLASSIC & PERFO
                       Performance      Repairs &   716-759-1800 NY
01/21/2021   Expense   Parts            Maintenance 11921 Card#2282           92.20
                                                    600 51ST AVE N
                                                    Tennessee Contr
                                        Machinery & 600 51ST AVE N
                                        Equipment - Tennessee Contr
                       Tennessee        Original    615-292-2989 TN
01/21/2021   Expense   Contractors      Cost        11821 Card#2282          152.95




                                                      4225 ASHLAND
                                                      CITY HW
                                                      NASHVILLE 4225
                                                      ASHLAND CITY
                                                      HW NASHVILLE
                                                      NURSE 615-
                       NASHVILLE        Materials &   2443478 TN 11421
01/21/2021   Expense   NURSERY          Supplies      Card#2282               24.58




     Case 3:20-bk-03561              Doc 31-3 Filed 02/15/21 Entered 02/15/21 12:08:47   Desc
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                                                     4225 ASHLAND
                                                     CITY HW
                                                     NASHVILLE 4225
                                                     ASHLAND CITY
                                                     HW NASHVILLE
                                                     NURSE 615-
                       NASHVILLE       Materials &   2443478 TN 11421
01/21/2021   Expense   NURSERY         Supplies      Card#2282            221.23
                                                     2700 Belmont
                                                     Boulev SQ
                                                     *MARTIN' 2700
                                                     Belmont Boulev SQ
                                       Meals -       *MARTIN'S BA
                                       Employees     Nashville TN 12021
01/21/2021   Expense   Martins         (Meetings)    Card#2282            129.65



                                                     System-recorded
                                                     fee for QuickBooks
                                                     Payments. Fee-
                                       Bank          name:
                       QuickBooks      Charges &     DiscountRateFee,
01/21/2021   Expense   Payments        Fees          fee-type: Daily.       3.05
                                       Wages
                                       (Hourly) -
01/20/2021   Check     Payroll         Regular Pay Check 20139 Check      663.60
                                       Wages
                                       (Hourly) -
01/20/2021   Check     Payroll         Regular Pay Check 20138 Check      683.32
                                       Wages
                                       (Hourly) -
01/20/2021   Check     Payroll         Regular Pay Check 20137 Check      628.46

                       JB Donoho       Materials &   Check 948 Check -
01/20/2021   Check     Nursery         Supplies      Materials            504.00




                                                     WENDYS 607
                                                     NASHVILLE TN
                                                     12021 4 WENDYS
                                       Meals -       607 NASHVILLE TN
                                       Officers      12021 425437
01/20/2021   Expense   Wendy's         Only          Card#2282              4.37




                                                   6000 CHARLOTTE
                                                   PIKE NAPA STORE
                                                   6000 CHARLOTTE
                                                   PIKE NAPA STORE
                                                   5120 NASHVILLE
                                       Repairs &   TN 12521
01/20/2021   Expense   NAPA            Maintenance Card#2282              183.28




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                                                    440 TERRY AVE N
                                                    AMZN MKTP
                                                    US*Z5 440 TERRY
                                                    AVE N AMZN
                                                    MKTP US*Z5
                                                    AMZN.COMBILL
                                      Office        WA 11921
01/20/2021   Expense   AMAZON         Expenses      Card#2282           53.56




                                                    6401 CENTENNIAL
                                                    BLV LIVING EART
                                                    6401 CENTENNIAL
                                                    BLV LIVING
                                      Materials &   EARTH CE
01/20/2021   Expense   LIVING EARTH   Supplies      NASHVILLE TN        14.08




                                                    4225 ASHLAND
                                                    CITY HW
                                                    NASHVILLE 4225
                                                    ASHLAND CITY
                                                    HW NASHVILLE
                                                    NURSE 615-
                       NASHVILLE      Materials &   2443478 TN 11421
01/20/2021   Expense   NURSERY        Supplies      Card#2282           61.45




                                                    4225 ASHLAND
                                                    CITY HW
                                                    NASHVILLE 4225
                                                    ASHLAND CITY
                                                    HW NASHVILLE
                                                    NURSE 615-
                       NASHVILLE      Materials &   2443478 TN 11421
01/20/2021   Expense   NURSERY        Supplies      Card#2282           81.94
                                      Wages
                                      (Hourly) -
01/19/2021   Check     Payroll        Regular Pay Check 20140 Check    588.32
                                      Wages
                                      (Hourly) -
01/19/2021   Check     Payroll        Regular Pay Check 20135 Check    588.31
                                      Wages
                                      (Hourly) -
01/19/2021   Check     Payroll        Regular Pay Check 20133 Check    411.92




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                                                      5310 HARDING
                                                      PIKE WHITTS BBQ
                                                      HA 5310 HARDING
                                                      PIKE WHITTS BBQ
                                                      HARD NASHVILLE
                       HART ACE         Materials &   TN 11821
01/19/2021   Expense   HARDWARE         Supplies      Card#2282           7.70




                                                      5304 HARDING
                                                      PIKE HART ACE
                                                      HDWE 5304
                                                      HARDING PIKE
                                                      HART ACE HDWE
                       HART ACE         Materials &   NASHVILLE TN
01/19/2021   Expense   HARDWARE         Supplies      11821 Card#2282   124.40



                                                      DICKENS TURF
                                                      AND NASHVILLE
                                                      TN 1 DICKENS
                                                      TURF AND
                       DICKENS TURF                   NASHVILLE TN
                       & LANDSCAPE Materials &        11921 002455
01/19/2021   Expense   SUPPLY       Supplies          Card#2282         182.08




                                                      6401 CENTENNIAL
                                                      BLV LIVING EART
                                                      6401 CENTENNIAL
                                                      BLV LIVING
                                        Materials &   EARTH CE
01/19/2021   Expense   LIVING EARTH     Supplies      NASHVILLE TN       18.56




                                                    6401 CENTENNIAL
                                                    BLV LIVING EART
                                                    6401 CENTENNIAL
                                                    BLV LIVING
                                        Materials & EARTH CE
01/19/2021   Expense   LIVING EARTH     Supplies    NASHVILLE TN          6.08
                                                    600 51ST AVE N
                                                    Tennessee Contr
                                        Machinery & 600 51ST AVE N
                                        Equipment - Tennessee Contr
                       Tennessee        Original    615-292-2989 TN
01/19/2021   Expense   Contractors      Cost        11821 Card#2282     152.95




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                                                      4225 ASHLAND
                                                      CITY HW
                                                      NASHVILLE 4225
                                                      ASHLAND CITY
                                                      HW NASHVILLE
                                                      NURSE 615-
                       NASHVILLE        Materials &   2443478 TN 11421
01/19/2021   Expense   NURSERY          Supplies      Card#2282            555.54




                                                    139 HUNTINGTON
                                                    PL IN *SNARK
                                                    MED 139
                                                    HUNTINGTON PL
                                                    IN *SNARK MEDIA
                                        Advertising 615-6969119 TN
01/19/2021   Expense   Snark Media      & Marketing 11821 Card#2282        396.00



                                                      System-recorded
                                                      fee for QuickBooks
                                                      Payments. Fee-
                                        Bank          name:
                       QuickBooks       Charges &     DiscountRateFee,
01/19/2021   Expense   Payments         Fees          fee-type: Daily.       6.30



                                                      System-recorded
                                                      fee for QuickBooks
                                                      Payments. Fee-
                                        Bank          name:
                       QuickBooks       Charges &     DiscountRateFee,
01/18/2021   Expense   Payments         Fees          fee-type: Daily.      11.30



                                                      System-recorded
                                                      fee for QuickBooks
                                                      Payments. Fee-
                                        Bank          name:
                       QuickBooks       Charges &     DiscountRateFee,
01/17/2021   Expense   Payments         Fees          fee-type: Daily.       9.60



                                                      System-recorded
                                                      fee for QuickBooks
                                                      Payments. Fee-
                                        Bank          name:
                       QuickBooks       Charges &     DiscountRateFee,
01/17/2021   Expense   Payments         Fees          fee-type: Daily.       0.55
                                        Wages
                                        (Hourly) -
01/15/2021   Check     Payroll          Regular Pay Check 20136 Check      646.65
                                        Wages
                                        (Hourly) -
01/15/2021   Check     Payroll          Regular Pay Check 20134 Check      579.06




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                                                   190AWWV
                                                   LIVINGS PAYROLL
                                                   190AWWV
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                       Wages       190AWWV
                                       (Hourly) -  1582663830
01/15/2021   Expense   Payroll         Regular Pay LIVINGSCAPES            81.00
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                                   190AWWV
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                       Wages       190AWWV
                                       (Hourly) -  1582663830
01/15/2021   Expense   Payroll         Regular Pay LIVINGSCAPES          1,943.79
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                                   190AWWV
                                                   190AWWV
                                                   LIVINGS PAYROLL
                                       Wages       190AWWV
                                       (Hourly) -  1582663830
01/15/2021   Expense   Payroll         Regular Pay LIVINGSCAPES          2,941.10




                                                     4225 ASHLAND
                                                     CITY HW
                                                     NASHVILLE 4225
                                                     ASHLAND CITY
                                                     HW NASHVILLE
                                                     NURSE 615-
                       NASHVILLE       Materials &   2443478 TN 11421
01/15/2021   Expense   NURSERY         Supplies      Card#2282            442.46




                                                     4225 ASHLAND
                                                     CITY HW
                                                     NASHVILLE 4225
                                                     ASHLAND CITY
                                                     HW NASHVILLE
                                                     NURSE 615-
                       NASHVILLE       Materials &   2443478 TN 11421
01/15/2021   Expense   NURSERY         Supplies      Card#2282            442.46




                                                     1883 Lewisburg
                                                     Pike SQ *M & M L
                                                     1883 Lewisburg
                                                     Pike SQ *M & M
                                      Materials &    LAWNC Franklin TN
01/15/2021   Expense   M & M Lawncare Supplies       11421 Card#2282      600.00




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                                                      System-recorded
                                                      fee for QuickBooks
                                                      Payments. Fee-
                                        Bank          name:
                       QuickBooks       Charges &     DiscountRateFee,
01/15/2021   Expense   Payments         Fees          fee-type: Daily.       10.00




                                                      MOBILE MINI
                                                      8004561751
                                                      18607483 MOBILE
                                                      MINI 8004561751
                                        Rent &        1860748362
                                        Lease         JAMES
01/14/2021   Expense   MOBILE MINI      (Buildings)   LIVINGSTON            143.42




                                                      5304 HARDING
                                                      PIKE HART ACE
                                                      HDWE 5304
                                                      HARDING PIKE
                                                      HART ACE HDWE
                       HART ACE         Materials &   NASHVILLE TN
01/14/2021   Expense   HARDWARE         Supplies      11321 Card#2282         1.64



                                                      System-recorded
                                                      fee for QuickBooks
                                                      Payments. Fee-
                                        Bank          name:
                       QuickBooks       Charges &     DiscountRateFee,
01/14/2021   Expense   Payments         Fees          fee-type: Daily.       14.16

                                        Materials &   Check 947 Check -
01/13/2021   Check     Donnie Christian Supplies      Materials             675.00


                       Reladyne                       Check 950 Check -
01/13/2021   Check     Midsouth         Fuel          equipment fuel       1,716.40
                                                      OLB Transfer from
                                        Pinnacle      *236 to *655 OLB
                                        Payroll       Transfer from *236
01/13/2021   Expense                    *2655         to *655 Transfer     9,400.00




                                                  Signature POS
                                                  Debit 0201 TN 877-
                                     Accounting Signature POS
                                     &            Debit 0201 TN 877-
                       GlB FINANCIAL Administrati 417-4551 SQ *GLB
01/13/2021   Expense   GROUP         ve           FINANCIAL G SEQ           350.00




     Case 3:20-bk-03561             Doc 31-3 Filed 02/15/21 Entered 02/15/21 12:08:47   Desc
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                                                     System-recorded
                                                     fee for QuickBooks
                                                     Payments. Fee-
                                       Bank          name:
                       QuickBooks      Charges &     DiscountRateFee,
01/13/2021   Expense   Payments        Fees          fee-type: Daily.       71.20
                                       Wages
                                       (Hourly) -
01/12/2021   Check     Payroll         Regular Pay Check 20132 Check       254.74
                                       Wages
                                       (Hourly) -
01/12/2021   Check     Payroll         Regular Pay Check 20131 Check       270.66
                                       Wages
                                       (Hourly) -
01/12/2021   Check     Payroll         Regular Pay Check 20130 Check       246.78
                                                   MOBILE MINI
                                                   8004561751
                       MINI                        18607483 MOBILE
                       8004561751                  MINI 8004561751
                       1860748362      Rent &      1860748362
                       JAMESentlease   Lease       JAMES
01/12/2021   Expense   s               (Buildings) LIVINGSTON              153.67
                                                   4225 ASHLAND
                                                   CITY HW
                                                   NASHVILLE 4225
                                                   ASHLAND CITY
                                                   HW NASHVILLE
                                                   NURSE 615-
                       NASHVILLE                   2443478 TN 11121
01/12/2021   Expense   NURSERY         Fuel        Card#2282               221.23
                                       Wages
                                       (Hourly) -
01/11/2021   Check     Payroll         Regular Pay Check 20128 Check       410.43

                       POSEY & SON     Materials &
01/11/2021   Check     NURSERY         Supplies      Check 946 Check      1,100.00




                                                     4225 ASHLAND
                                                     CITY HW
                                                     NASHVILLE 4225
                                                     ASHLAND CITY
                                                     HW NASHVILLE
                                                     NURSE 615-
                       NASHVILLE       Materials &   2443478 TN 10821
01/11/2021   Expense   NURSERY         Supplies      Card#2282             221.23
                                                     THORNTONS
                                                     #0608 - 7102
                                                     NASHVILL
                                                     THORNTONS
                                                     #0608 - 7102
                                                     NASHVILLE TN
                                                     11121
                                                     000000587048
01/11/2021   Expense   Thorntons       Fuel          Card#2282              20.27
                                                     211 S Akard Rm
                                                     1210 ATT*BILL PA
                                                     211 S Akard Rm
                                                     1210 ATT*BILL
                                                     PAYMEN 800-288-
                                                     2020 TX 10821
01/11/2021   Expense   AT&T            Internet      Card#2282              64.20




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                                                      440 Terry Ave N
                                                      AMZN Mktp US*LP
                                                      440 Terry Ave N
                                                      AMZN Mktp US*LP
                                        Office        Amzn.combill WA
01/11/2021   Expense   AMAZON           Expenses      10921 Card#2282     52.43
                                        Wages
                                        (Hourly) -
01/08/2021   Check     Payroll          Regular Pay Check 20129 Check    469.70
                                        Wages
                                        (Hourly) -
01/08/2021   Check     Payroll          Regular Pay Check 20127 Check    411.95
                                                    190AWWV
                                                    LIVINGS PAYROLL
                                                    190AWWV
                                                    190AWWV
                                                    LIVINGS PAYROLL
                                        Wages       190AWWV
                                        (Hourly) -  1582663830
01/08/2021   Expense   Payroll          Regular Pay LIVINGSCAPES          81.00
                                                    190AWWV
                                                    LIVINGS PAYROLL
                                                    190AWWV
                                                    190AWWV
                                                    LIVINGS PAYROLL
                                        Wages       190AWWV
                                        (Hourly) -  1582663830
01/08/2021   Expense   Payroll          Regular Pay LIVINGSCAPES        1,054.83
                                                    190AWWV
                                                    LIVINGS PAYROLL
                                                    190AWWV
                                                    190AWWV
                                                    LIVINGS PAYROLL
                                        Wages       190AWWV
                                        (Hourly) -  1582663830
01/08/2021   Expense   Payroll          Regular Pay LIVINGSCAPES        1,915.23
                                        Materials &
01/08/2021   Check     Eller Trees      Supplies    Check 945 Check     1,175.00
                                        Rent &
                       L & G TURF       Lease
01/08/2021   Check     MANAGEMENT       (Buildings) Check 949 Check     2,100.00




                                                      440 Terry Ave N
                                                      Amazon.com*G69N
                                                      440 Terry Ave N
                                                      Amazon.com*G69N
                                        Office        Amzn.combill WA
01/08/2021   Expense   AMAZON           Expenses      10721 Card#2282     54.37
                                                      MOBILE MINI
                                                      8004561751
                       MINI                           18607483 MOBILE
                       8004561751                     MINI 8004561751
                       1860748362       Rent &        1860748362
                       JAMESentlease    Lease         JAMES
01/07/2021   Expense   s                (Buildings)   LIVINGSTON         113.84




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                                                   LOWE'S #629 7034
                                                   CHARL NASHVILL
                                                   LOWE'S #629 7034
                                                   CHARL
                                                   NASHVILLE TN
                                     Materials &   10521 046234
01/06/2021   Expense   LOWE'S        Supplies      Card#2282           108.79
                                                   TROLLEY ROCK
                                                   TRU BELVIDERE
                                                   TN 1 TROLLEY
                                                   ROCK TRU
                                                   BELVIDERE TN
                       TRU                         10621 795269
01/06/2021   Expense   BELVIDERERY   Fuel          Card#2282            12.85




                                                 WASTE
                                                 MANAGEMENT
                                                 INTERNET 90490
                                                 WASTE
                                                 MANAGEMENT
                                     Dump &      INTERNET
                                     Waste       9049038216 S
                       Waste         Managemen LIVINGSTON
01/06/2021   Expense   Management    t           JAMES                 163.35
                                                 SAMARA FARMS
                                                 LLC SALE
                                                 921598620
                                                 SAMARA FARMS
                       SALE                      LLC SALE
                       921598620                 9215986202 S
                       SAMARAattmate Materials & JAMES
01/06/2021   Expense   rialss        Supplies    LIVINGSTON           1,442.00
                                                 PENN NATIONAL
                                                 IN RECUR PMTS
                                                 800 PENN
                                                 NATIONAL IN
                                                 RECUR PMTS
                                                 8000271667
                                     General     C230961349
                       Penn National Liability   LIVINGSTON
01/06/2021   Expense   Insurance     Insurance   JAMES                 117.50
                       TN VALLEY     Uncategoriz
01/05/2021   Check     NURSERY       ed Expense Check 2005 Check       561.49
                                                 SHELL SERVICE S
                                                 NASHVILLE TN 10
                                                 SHELL SERVICE S
                                                 NASHVILLE TN
                                                 10521
                       S                         100578562857
01/05/2021   Expense   NASHVILLERY Fuel          Card#2282              15.70




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                                                  1600 Amphitheatre
                                                  P Google LLC 1600
                                                  Amphitheatre P
                                                  Google LLC GSUI
                                      Advertising Mountain View CA
01/04/2021   Expense   GOOGLE         & Marketing 10321 Card#2282       6.75
                                                  2431 HIGHWAY 46
                                                  S COLTONS - DIC
                                                  2431 HIGHWAY 46
                                                  S COLTONS -
                                                  DICKS DICKSON
                                      Materials & TN 10121
01/04/2021   Expense   Coltons        Supplies    Card#2282            59.10
                                                  22-24 Boulevard
                                                  Roya Luxembourg
                                                  22-24 Boulevard
                                                  Roya Luxembourg
                                                  LUX 123120
01/04/2021   Expense                  Local Taxes Card#2282             6.99
                                                  22-24 Boulevard
                                                  Roya Luxembourg
                                                  22-24 Boulevard
                                                  Roya Luxembourg
                                                  LUX 123120
01/04/2021   Expense                  Local Taxes Card#2282             1.55




                                                   5600 CHARLOTTE
                                                   PIKE WALGREENS
                                                   # 5600
                                                   CHARLOTTE PIKE
                                                   WALGREENS
                                      Meals -      #4707 NASHVILLE
                                      Employees    TN 123120
01/04/2021   Expense   Walgreens      (Meetings)   Card#2282           43.37
                                                   Wal-Mart Super C
                                                   NASHVILLE (W)
                                                   Wal-Mart Super C
                                                   NASHVILLE (W) TN
                                      Office       10221 820777
01/04/2021   Expense                  Expenses     Card#2282           33.61
                                                   899 Heathrow Park
                                                   L VERIZON*TEL
                                                   899 Heathrow Park
                                                   L
                                                   VERIZON*TELESA
                                                   L 800-922-0204 FL
01/04/2021   Expense                  Cell Phone   10321 Card#2282     50.87
                                                   SHELL SERVICE S
                                                   NASHVILLE TN 10
                                                   SHELL SERVICE S
                                                   NASHVILLE TN
                                                   10121
                       S                           100108723391
01/04/2021   Expense   NASHVILLERY    Fuel         Card#2282            9.01




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                                                      SHELL SERVICE S
                                                      NASHVILLE TN 10
                                                      SHELL SERVICE S
                                                      NASHVILLE TN
                                                      10321
                       S                              100343804474
01/04/2021   Expense   NASHVILLERY      Fuel          Card#2282             29.84
                                                      FLYING J #720
                                                      FAIRVIEW TN
                                                      10121 FLYING J
                                                      #720 FAIRVIEW TN
                                                      10121
                                                      100173890936
01/04/2021   Expense   Flying J         Fuel          Card#2282              8.11
                                                      22-24 Boulevard
                                                      Roya eBay O*22-
                                                      22-24 Boulevard
                                                      Roya eBay O*22-
                                                      06329 Luxembourg
                                        Materials &   LUX 123120
01/04/2021   Expense   Boulevard Mate   Supplies      Card#2282            777.48


                                                      DOLLAR GENERAL
                                                      1 NASHVILLE TN 1
                                                      DOLLAR GENERAL
                                                      1 NASHVILLE TN
                                        Office        10321 024209
01/04/2021   Expense   Dollar General   Expenses      Card#2282             66.85



                                                      System-recorded
                                                      fee for QuickBooks
                                                      Payments. Fee-
                                        Bank          name:
                       QuickBooks       Charges &     DiscountRateFee,
01/04/2021   Expense   Payments         Fees          fee-type: Daily.       0.80




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